        Case 3:18-cv-02482-N Document 5 Filed 09/18/18              Page 1 of 2 PageID 33


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 RGN-US IP, LLC and Regus Management                 §
 Group, LLC                                          §
                                                     §
                         Plaintiffs,                 §
                                                     §        Civil Action No. 3:18-cv-02482-N
 v.                                                  §
                                                     §
 WeWork Companies Inc.,                              §
                                                     §
                         Defendant.

                PLAINTIFFS’ CERTIFICATE OF INTERESTED PERSONS

         Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.1(c), the undersigned

counsel of record for RGN-US IP, LLC and Regus Management Group, LLC (“Plaintiffs”) hereby

certifies that the following listed entities have a direct, pecuniary interest in the outcome of this

case:

            1. RGN-US IP, LLC

            2. Regus Management Group, LLC

            3. Regus Corporation


         Plaintiffs disclose that they are both wholly owned subsidiaries of Regus Corporation, a

privately held company. No public corporation owns 10% or more of Regus Corporation’s

stock.




                                                 1
Case 3:18-cv-02482-N Document 5 Filed 09/18/18     Page 2 of 2 PageID 34


                               Respectfully Submitted,

                                       /s/ Yvette Ostolaza
                               Yvette Ostolaza
                               State Bar No. 00784703
                               yvette.ostolaza@sidley.com
                               Paige Holden Montgomery
                               State Bar No. 24037131
                               pmontgomery@sidley.com
                               Mitchell Brant Feinberg
                               State Bar No. 24105852
                               mitchell.feinberg@sidley.com
                               SIDLEY AUSTIN LLP
                               2021 McKinney Avenue, Suite 2000
                               Dallas, Texas 75201
                               Telephone: (214) 981-3300
                               Facsimile: (214) 981-3400

                               Attorneys for Plaintiffs RGN-US IP, LLC and Regus
                               Management Group, LLC




                                  2
